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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                     Criminal No. 19-cr-18-ABJ
 ROGER J. STONE, JR.,

                                 Defendant.


                       GOVERNMENT”S OPPOSITION TO
               DEFENDANT’S MOTION IN LIMINE TO ADMIT EVIDENCE

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, files this response to defendant Roger J. Stone, Jr.’s motion (Doc. 158) to

admit evidence concerning Russian involvement in the hacks of the Democratic National

Committee (“DNC”), the Democratic Congressional Campaign Committee (“DCCC”), the

presidential campaign of Hillary Clinton, and Campaign employees, and the transmission of those

stolen files to Organization 1. 1 It is unclear exactly what evidence Stone wishes to present. He

provides no proffer or offer of proof. Nor does he state how much evidence he intends to present

on this subject or how long it will take. But, in all events, Stone’s arguments lack merit.

       As discussed in the government’s separate motion to exclude evidence on these issues

(Doc. 153), Stone is not charged in this case with participating in Russia’s actions directed at the

2016 U.S. presidential election. Stone is charged with obstructing a congressional investigation,

making numerous false statements to Congress, and witness tampering. Stone’s contention is that

if Russia did not steal and transmit the files later disseminated by Organization 1, then Stone’s


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          Stone’s motion generally refers to evidence about whether Organization 1 received the
stolen files from Russia. Doc. 158, at 1, 6, 7, 10-11. In places, however, the motion appears to
refer to evidence about whether Russia was responsible for the hacks themselves. Id. at 6, 10. For
purposes of the question before the Court, the arguments apply equally to both issues.
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false statements could not be material to the investigation being conducted by the House

Permanent Select Committee on Intelligence (“HPSCI”). 2

        Stone’s position is misguided. As the government has explained (Doc. 153, at 12-14),

Stone’s argument fundamentally misunderstands the legal definition of materiality, which turns on

whether a statement had a natural tendency to influence or was capable of influencing a discrete

decision or any other function. Materiality in this case therefore depends on the nature of the

investigation to which Stone’s statements were addressed—an investigation concerning, among

other things, allegations that Russia stole and transferred the files later released by Organization 1,

and questions about whether individuals associated with the Trump Campaign were linked to those

and related activities.    Materiality does not depend on the answer to the questions being

investigated. For these reasons, Stone’s evidence is irrelevant and should be excluded. As the

government has additionally argued (id. at 16-18), not only would evidence on these issues be


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            Stone twice refers to “materiality in the obstruction and perjury counts.” Doc. 158, at 6,
7. Stone is not charged with perjury but, as he acknowledges elsewhere (e.g., id. at 7, 9), with
making false statements in violation of 18 U.S.C. § 1001 (counts 2-6). Stone is also charged with
two forms of obstruction—obstructing a congressional investigation in violation of 18 U.S.C.
§ 1505 (count 1), and witness tampering in violation of 18 U.S.C. § 1512(b)(1) (count 7). Neither
statute contains an express materiality element. The requirement in Section 1505 that the
defendant “influenced, obstructed, impeded, or attempted to influence, obstruct or impede” the
congressional proceeding bears some similarity to a requirement of materiality. The verbs
“‘obstruct or impede’ are broad” and “can refer to anything that blocks, makes difficult, or
hinders.” Marinello v. United States, 138 S. Ct. 1101, 1106 (2018) (internal brackets and quotation
marks omitted). Some courts have accordingly suggested that “when obstruction takes the form
[of] . . . lying, the materiality of the lie becomes a focus of inquiry, because a lie that is immaterial
to the [] process is not a potential interference with it.” United States v. Buckley, 192 F.3d 708,
710 (7th Cir. 1999) (citations omitted); see also United States v. Aguilar, 515 U.S. 593, 599 (1995)
(“the endeavor must have ‘the natural and probable effect’ of interfering with the due
administration of justice”) (interpreting 18 U.S.C. § 1503). This element of obstruction “reaches
all corrupt conduct capable of producing an effect that prevents justice from being duly
administered.” United States v. Silverman, 745 F.2d 1386, 1393 (11th Cir. 1984) (interpreting 18
U.S.C. § 1503). To the extent that Stone is making any argument about count 1, the government’s
arguments about materiality apply equally. See, e.g., United States v. Thomas, 612 F.3d 1107,
1128-29 (9th Cir. 2010).

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irrelevant, but it would also pose significant risks of unfair prejudice, confusing or misleading the

jury, and undue delay. It would create a vast mini-trial within a trial on issues that are tangential

to the charges, thus requiring significant trial time and risking jury confusion and unfair prejudice

with collateral but highly complex issues.

                                         BACKGROUND

       The government provided a detailed statement of facts in its related motion to exclude

evidence. Doc. 153, at 3-8. In order to limit repetition, this filing provides only the most pertinent

pieces of background information. In short, during the lead-up to the 2016 U.S. presidential

election, Organization 1 released documents stolen from the DNC and Clinton Campaign

chairman. Doc. 1, ¶¶ 3(a), 3(b) (Indictment). The Indictment alleges that from July 2016 through

October 2016, Stone engaged in communications with and about Organization 1. These included

communications about Organization 1’s plans to release stolen files and communications with

Trump Campaign officials about those plans. Id. ¶¶ 10, 13, 15, 16.

       On January 6, 2017, the U.S. Intelligence Community (“USIC”) released a public

assessment that Russia interfered in the 2016 presidential election to aid President Trump by

conducting cyber operations against political targets and transmitting stolen materials to

Organization 1. Assessing Russian Activities and Intentions in Recent US Elections, at ii-iii, 1-3,

https://www.dni.gov/files/documents/ ICA_2017_01.pdf. HPSCI announced an investigation into

these matters, including Russian involvement in obtaining and transmitting the documents that

were eventually released by Organization 1 and any links with the Trump Campaign. Doc. 1 ¶ 7. 3


       3
         HPSCI explained that it was investigating “Russian cyber activity and other ‘active
measures’ directed against the U.S. and its allies”; “Counterintelligence concerns related to Russia
and the 2016 U.S. election, including any intelligence regarding links between Russia and
individuals associated with political campaigns”; “The United States Government response to
these Russian active measures and any impact they may have on intelligence relationships and

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On September 26, 2017, Stone testified before HPSCI. Id. ¶ 20.

        On January 24, 2019, the grand jury returned a seven-count indictment charging Stone with

obstructing a congressional investigation in violation of 18 U.S.C. § 1505 (count 1); making

numerous false statements to Congress in violation of 18 U.S.C. § 1001(a)(2) (counts 2-6); and

witness tampering in violation of 18 U.S.C. § 1512(b)(1) (count 7). As relevant here, the

Indictment alleges that Stone made multiple false and misleading statements to HPSCI. Id. ¶¶ 19-

35, 43. These include falsely testifying that he had no documents referring to the head of

Organization 1, id. ¶¶ 22-23, 31-33; that his prior public statements about communicating with

Organization 1 through an intermediary referred to a single individual whom Stone later falsely

identified as Person 2, id. ¶¶ 25-28; that Stone did not ask his “intermediary” to communicate

information or requests to the head of Organization 1, id. ¶¶ 29-30; that Stone never communicated

with his intermediary in writing, id. ¶¶ 31-34; and that Stone never spoke to individuals involved

in the Trump Campaign about communications with his intermediary, id. ¶ 35. The Indictment

also alleges that, in an effort to conceal his false statements to HPSCI, Stone repeatedly urged

Person 2 to testify falsely, or to say that he could not remember the relevant events, or not to testify

at all. Id. ¶¶ 36-39.




traditional alliances”; and “Possible leaks of classified information related to the Intelligence
Community’s assessments of these matters.” Joint Statement on Progress of Bipartisan HPSCI
Inquiry         into      Russian       Active       Measures        (Jan.       25,       2017),
https://intelligence.house.gov/news/documentsingle.aspx?DocumentID=211.

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                                            DISCUSSION

        Stone contends that he should be permitted to introduce exhibits and testimony about

Russia’s role in stealing and transferring the files later posted by Organization 1. It is unclear

exactly what evidence Stone wishes to present; he provides no proffer or offer of proof. But in all

events, evidence on these issues should be excluded from trial because it is entirely irrelevant to

the charges in this case and also presents a serious risk of unfair prejudice, jury confusion, and

undue delay that substantially outweighs any minimal probative value.

A.      Evidence Regarding Russia’s Role In Interfering In The 2016 Presidential Election Is
        Irrelevant

        Only relevant evidence is admissible at trial. Fed. R Evid. 402. The party seeking to

introduce evidence bears the burden of establishing relevancy. Dowling v. United States, 493 U.S.

342, 351 n.3 (1990). Stone has not met and cannot meet this burden.

        1. Russia’s Role in the 2016 Presidential Election Is Irrelevant To Materiality

        The definition of relevance is inclusive, Fed. R. Evid. 401(a), but it depends on the

possibility of establishing a fact that “is of consequence in determining the action,” Fed. R. Evid.

401(b). Evidence is therefore relevant only if it relates to matters that are at issue in the case. E.g.,

United States v. O’Neal, 844 F.3d 271, 278 (D.C. Cir. 2016); Sprint/United Mgmt. Co. v.

Mendelsohn, 552 U.S. 379, 387 (2008).

        In this case, Stone is charged with obstructing a congressional investigation in violation of

18 U.S.C. § 1505 (count 1); making numerous false statements to Congress in violation of 18

U.S.C. § 1001(a)(2) (counts 2-6); and witness tampering in violation of 18 U.S.C. § 1512(b)(1)

(count 7). Doc. 1. To adjudicate these charges, the jury will, in short, have to decide whether

Stone engaged in obstructive conduct or endeavored to do so, with a nexus to the HPSCI

proceeding, and with a corrupt intent (count 1); whether Stone knowingly and willfully made false

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statements, in a matter that was part of a congressional investigation, and the false statements were

material (counts 2-6); and whether Stone corruptly persuaded or attempted to corruptly persuade

a witness, acted knowingly and with the intent to interfere in that witness’s testimony, and did so

with a current or future proceeding in mind (count 7). None of the elements of these offenses turns

on whether Russia participated in the hacks or whether Russia transmitted stolen files to

Organization 1. (In fact, Russia was involved in these activities, and therefore if Stone is permitted

to present evidence in support of his contrary position, the government intends to introduce

evidence supporting that conclusion in its rebuttal case, see discussion infra Section B.)

       Stone argues (Doc. 158, at 7-10) that the details of Russia’s and Organization 1’s 2016

activities are relevant to the materiality of false statements that Stone made to HPSCI in 2017.

Stone’s central thesis appears to be that because HPSCI was investigating Russia’s activities, if

Russia did not steal or transfer the files posted by Organization 1 (which it did), then false

statements relating to Organization 1 could not have been material to HPSCI’s investigation. See

Doc. 158, at 2-3, 6-7, 9-11. Stone’s position misunderstands the legal definition of materiality. A

false statement is material if it has “a natural tendency to influence, or [is] capable of influencing,

either a discrete decision or any other function” of the agency to which it is directed—here HPSCI.

United States v. Moore, 612 F.3d 698, 701 (D.C. Cir. 2010); accord United States v. Gaudin, 515

U.S. 506, 509 (1995). This is judged not just by the direct effect of the statement itself but also by

reference to the possibility of further investigation. United States v. Hansen, 772 F.2d 940, 949

(D.C. Cir. 1985); see Kungys v. United States, 485 U.S. 759, 768-771 (1988). “A statement ‘need

not actually influence an agency in order to be material.’” United States v. Verrusio, 762 F.3d 1,

20 (D.C. Cir. 2014) (quoting Moore, 612 F.3d at 701-02). Materiality “is a fairly low bar,” United

States v. White, 270 F.3d 356, 365 (6th Cir. 2001), and serves to ensure that the prohibition on


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false statements does not “embrace trivial falsehoods.” United States v. Elashyi, 554 F.3d 480,

497 (5th Cir. 2008).

       Applying that well-established legal standard, the relevant question is whether Stone’s

false statements were capable of influencing HPSCI’s investigative steps or other actions. The

jury in this case will have to consider the false statements that Stone made and the decisions that

HPSCI was trying to make, and “based on those facts,” the jury will have to decide whether the

statements were material to those decisions. Memorandum Op., Doc. 163, at 11 n.6 (Aug. 1, 2019)

(citing Gaudin, 515 U.S. at 509, 512). Accordingly, evidence relevant to materiality concerns

Stone’s statements and the scope and direction of HPSCI’s investigation, not the truth of the

allegations that HPSCI was investigating. See, e.g., United States v. Poindexter, 725 F. Supp. 13,

27 (D.D.C. 1989) (during investigation into “United States government involvement in sales of

arms to Iran, [] it was plainly material to that inquiry when [a presidential advisor] first learned of

government involvement in the shipment of arms to that country”); United States v. Moran, 194

F.2d 623, 626 (2d Cir. 1952) (holding that in an investigation into, inter alia, “the relationship

between public officials and organized crime,” the number of meetings between a government

official and a “convicted gambler” was material); see also United States v. Norris, 300 U.S. 564,

573 (1937) (“The materiality of the respondent’s false answers [to Congress] is clear in view of

the scope of the inquiry.”). Much as a witness may not lie to FBI agents and then claim that he

cannot be prosecuted because he has some evidence that the subjects of the investigation are

innocent, Stone could not lie to Congress about matters at the heart of the HPSCI inquiry and then

argue that he cannot be convicted because he has some evidence that Russia had no link to

Organization 1. Stone cites no case to support his contrary view.

       The government intends to show that Stone’s false statements had a natural tendency to


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and were capable of influencing HPSCI in a number of ways, none of which depend on whether

Russia, in fact, stole the files at issue or transferred them to Organization 1. HPSCI was

investigating allegations that Russia was responsible for the hacks and the dissemination of hacked

material to Organization 1. Communications with Organization 1 were therefore material to that

investigation—particularly communications by Stone, who had extensive links to the Trump

Campaign, had publicly discussed Organization 1’s role in the election, and had communicated

with the Guccifer 2.0 persona that publicly took credit for the hacks. It was for the Committee to

decide what that evidence showed about Russia’s involvement in the hacks, and Stone’s false

statements on these subjects impaired the Committee’s ability to evaluate the evidence of the role

Russia played vis-à-vis the hack, the Campaign, and Organization 1.

       Stone’s false statements also had a natural tendency to (and in fact did) affect HPSCI’s

investigative steps, priorities, and direction—regardless of Russia’s 2016 activities. See United

States v. Safavian, 649 F.3d 688, 691-92 (D.C. Cir. 2011) (statements material if they “were

capable of influencing the course of the FBI’s investigation”). For example, HPSCI did not

subpoena the written communications that Stone claimed not to exist, and HPSCI did not

investigate the other intermediary (Person 1) when Stone claimed that Person 2 was his sole

intermediary. Moreover, Organization 1’s activities and coordination with Stone were relevant to

evaluating the Intelligence Community’s work, to assessing any risks that Organization 1 may

pose, and to considering any future actions that should be taken to deter coordination with state

and non-state actors seeking to influence American elections. None of these understandings of

materiality depends in any way on whether Russia in fact participated in the hacks or transmitted

the hacked materials to Organization 1, and therefore Stone’s evidence on that subject is not




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relevant to the materiality inquiry. 4

        2. Stone’s Additional Arguments Lack Merit

        Stone appears to make a number of other arguments about why he should be permitted to

introduce evidence about Russia’s activities in 2016. Each lacks merit.

        a. Stone first argues (Doc. 158, at 3-6) that he has a constitutional right to present evidence

and put on a defense. That is true, of course, but has no bearing on this motion. A defendant has

“a meaningful opportunity to present a complete defense.” Holmes v. South Carolina, 547 U.S.

319 (2006). But “that guarantee extends only to relevant evidence,” United States v. Libby, 475

F. Supp. 2d 73, 90-91 (D.D.C. 2007), and “it is axiomatic that a defendant’s right to present a full

defense does not entitle him to place before the jury irrelevant or otherwise inadmissible evidence.”

United States v. Ruggiero, 791 F.3d 1281, 1290 (11th Cir. 2015). The “Constitution does not

require the admission of irrelevant evidence (or other types of evidence whose relevance is

outweighed by other important considerations).” United States v. Beavers, 756 F.3d 1044, 1052

(7th Cir. 2014); accord, e.g., United States v. Rivas-Estrada, 761 Fed. App’x 318, 328 (5th Cir.

2019) (unpublished); United States v. Rand, 835 F.3d 451, 459-460 (4th Cir. 2016); United States

v. Solomon, 399 F.3d 1231, 1239 (10th Cir. 2005); United States v. Munoz, 233 F.3d 1117, 1134

(9th Cir. 2000); see United States v. Scheffer, 523 U.S. 303, 308 (1998) (discussing “[a]



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          Even under Stone’s crabbed view of materiality and HPSCI’s investigation, Stone’s
statements were still material, regardless of Russia’s exact role. Stone now primarily focuses only
on evidence about whether Russia transferred the stolen files. But even if Organization 1 received
the files elsewhere, it does not follow that Organization 1 has no connection to Russia’s election
interference. For example, Organization 1 could theoretically have received the files from
someone who received them from Russia; Russia could theoretically have coordinated its other
election interference activities with Organization 1’s posting of stolen documents even if Russia
was not Organization 1’s source; and individuals associated with the Trump Campaign could
theoretically have played a role coordinating the two. Under any view, Stone’s communications
with and about Organization 1 were material, regardless of Russia’s exact role.

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defendant’s right to present relevant evidence”); Michigan v. Lucas, 500 U.S. 145, 149 (1991)

(same); Rock v. Arkansas, 483 U.S. 44, 55 (1987) (same). 5

       b. Stone declares that “[t]he Indictment provides the context that the Russian state

transferred the relevant data to WikiLeaks.” Therefore, says Stone, the government must prove

those facts and Stone’s evidence on the subject is relevant. Doc. 158, at 5-6; see id. at 2 (stating

that “Paragraphs 2, 3, and 12 of the Indictment assert that the Russian state hacked and stole DNC

data, that that data was then transferred to [Organization 1]”). The Indictment does not, in fact,

allege that Russia stole the relevant files and transferred them to Organization 1. Rather, the

Indictment alleges that the DNC “publicly announced that it had been hacked by Russian

government actors.” Doc. 1 ¶ 2. The Indictment further alleges that, between July 2016 and

November 2016, Organization 1 released documents stolen from the DNC and chairman of the

Clinton Campaign.      Id. ¶ 3.   These allegations are offered as background to the HPSCI

investigation and Stone’s statements. See id. ¶¶ 7-8. The government intends to offer evidence

on the DNC’s public announcement, Organization 1’s release of the materials, and the scope of

the HPSCI investigation for those purposes. But to prove the crimes charged in the Indictment—


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           Additionally, no constitutional right exists to admit relevant evidence where the
“relevance is outweighed by other important considerations.” Beavers, 756 F.3d at 1052. As
discussed below, any probative value to Stone’s Russia-related evidence is substantially
outweighed by risks of unfair prejudice and jury confusion and a virtual guarantee of substantial
delay and should therefore also be excluded under Federal Rule of Evidence 403. A defendant’s
right to present even relevant evidence “is not unlimited, but rather is subject to reasonable
restrictions.” United States v. Scheffer, 523 U.S. 303, 308 (1998); see Rock v. Arkansas, 483 U.S.
44, 55 & n.11 (1987). It is black letter law that “the Constitution” permits courts to exclude
evidence that is “marginally relevant,” or “poses an undue risk of . . . prejudice, [or] confusion of
the issues” and is fully consistent with “evidentiary rules that themselves serve the interests of
fairness and reliability -- even if the defendant would prefer to see that evidence admitted.” Crane
v. Kentucky, 476 U.S. 683, 689-90 (1986). Rule 403 is such a rule. See, e.g., Beavers, 756 F.3d
at 1052; United States v. Graham, 796 F.3d 332, 366 (4th Cir. 2015), reh’g en banc on other issue,
824 F.3d 421 (4th Cir. 2016); see Scheffer, 523 U.S. at 308 (limitations on relevant evidence are
permissible if they are neither “arbitrary” nor “disproportionate” to legitimate ends).

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obstruction of Congress, making false statements to Congress, and witness tampering—the

government is not required to prove Russia’s exact role in the 2016 election. The government is

certainly not required to prove Stone’s view of the Indictment’s “logic” or what it “impl[ies].”

Doc. 158, at 10. And the mention of an announcement by the DNC as background information

does not give Stone license to turn the trial into a sideshow on the underlying truth of that

announcement.

       c. Stone next argues (Doc. 158, at 8-9) that Russia’s 2016 activities may bear on whether

Congress exceeded its power when conducting this investigation or inquiring into Stone’s

communications with and about Organization 1. As an initial matter, this appears to be an untimely

attempt to suggest a defect in the Indictment. Stone’s theory also lacks merit because whether, in

fact, Russia interacted with Organization 1 in its 2016 activities does not alter Congress’s authority

to investigate the relevant allegations. Stone’s asserted evidence is therefore irrelevant.

       Congress has a broad power of inquiry in aid of its legislative functions and can investigate

any matters that Congress may seek to affect or change through legislation. Watkins v. United

States, 354 U.S. 178, 187 (1957); McGrain v. Daugherty, 273 U.S. 135, 174-76 (1927); see also

Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 504, 508-09 (1975); Barenblatt v. United

States, 360 U.S. 109, 111 (1959). HPSCI was investigating, among other things, Russia’s active

measures directed at the United States, “Counterintelligence concerns related to Russia and the

2016 U.S. election,” including “links between Russia and individuals associated with political

campaigns,” and the American government’s response to these activities. These areas of inquiry

are relevant to any number of fields of legislation—including laws governing cyber security,

relations with Russia, campaign finance, dissemination of stolen files, and the funding and

structure of the Intelligence Community.


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       Understanding Stone’s communications with and about Organization 1 is a natural part of

this inquiry, whether or not the Intelligence Community’s assessment of Russia’s 2016 activities

was correct. Organization 1 had released files believed to have been stolen by Russia and believed

to be released to benefit the Trump Campaign. Stone had communicated with Guccifer 2.0, an

entity that claimed responsibility for the DNC hack. Stone had ties to the Trump Campaign. And

Stone publicly (and privately) stated that he had been in touch with Organization 1. A natural part

of Congress’s investigation—and information that could bear on many areas of legislation—

concerned learning about Organization 1’s role vis-à-vis Russia and the Trump Campaign.

       Stone’s argument seems to reduce to the idea that if Russia did not transfer files to

Organization 1 (which it did), then Congress had no constitutional authority to inquire into Stone’s

communications with and about Organization 1. But “[t]he very nature of the investigative

function—like any research—is that it takes the searchers up some ‘blind alleys’ and into

nonproductive enterprises.” Eastland, 421 U.S. at 509. And even if, as Stone asserts, Russia did

not transfer files to Organization 1, Congress could nonetheless be interested in understanding

Organization 1’s activities and relationship to the Trump Campaign for the same legislative

purposes. Among other things, Congress could choose to legislate to address the threat of future

election interference, Organization 1’s working with other state or non-state actors, or

Organization 1’s interactions with political campaigns.

       Stone’s principal authority, United States v. Cross, 170 F. Supp. 303 (D.D.C. 1959), does

not support his position. In Cross, the Court granted a motion for judgment of acquittal on a charge

of perjury arising out of testimony before a congressional committee. Cross had testified before a

committee investigating union activities regarding allegations of an assault that occurred in a hotel

room. Id. at 307. After Cross denied any knowledge of the assault, the committee called another


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witness who contradicted Cross’s account, and then the committee recalled Cross solely to reiterate

his denial and to confirm that he did not wish to change his testimony in light of the other witness’s

statement. Id. at 308. The Court explained that the perjury charge against Cross, which was based

on his second round of testimony, could not stand because the committee had no “valid legislative

purpose” in questioning Cross a second time about the alleged assault. Id. at 309. The Court

concluded that the committee had recalled Cross solely “for the purpose of emphasizing the

untruthfulness of his prior denial and to render him more liable to criminal prosecution.” Id.

        That is not the case here. Stone has not alleged that he was asked to testify before HPSCI

solely for the purpose of rendering him more liable to criminal prosecution, or for some other

illegitimate purpose. On the contrary, as the transcript of his testimony makes clear, Stone was

asked to testify about matters that were directly relevant to a legitimate subject of congressional

investigation.   HPSCI was entitled to investigate the allegation that materials released by

Organization 1 had been stolen by the Russian government, and the Committee’s questions to

Stone were asked for that plainly legitimate purpose. In short, Cross has nothing to do with this

case.

        d. To the extent Stone suggests that evidence on Russia’s role is probative of his “state of

mind” or “belie[f]” about materiality at the time of the false statements (see Doc. 158, at 10), that

argument also lacks merit. As an initial matter, the charged crimes do not require that the

defendant knew his false statements were material. To act knowingly, Stone must have known

that his statements were false. But he did not have to know that his false statements were material

to HPSCI’s investigation. United States v. Stover, 499 Fed. App’x 267, 273 (4th Cir. 2012)

(unpublished); United States v. Notarantonio, 758 F.2d 777, 785 n.4 (1st Cir. 1985); United States

v. Mubayyid, 476 F. Supp. 2d 46, 56 (D. Mass. 2007); see United States v. Boulerice, 325 F.3d 75,


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82 (1st Cir. 2003) (“[W]hether Boulerice actually knew of the false statements’ materiality to the

government does not enter the calculus of proof.”). A contrary view would effectively require

government agents and entities to outline the scope, nature, direction, and tentative further steps

of any government process—whether it be a congressional investigation, FBI investigation, or an

informal interaction with an administrative agency—to any person submitting information, lest

false statements otherwise be permissible. (Even then, a defendant who believed that his false

statements were immaterial might argue that he was therefore allowed to make false statements.)

If a person chooses to make false statements to the government, he or she takes the risk that the

false statement is material.

       In any event, evidence about Russia’s role in the 2016 interference activities is not evidence

about Stone’s knowledge of materiality. Initially, evidence about Russia’s activities in 2016 is

irrelevant to what Stone knew when testifying in 2017 unless Stone possessed that same

information when he testified. See, e.g., United States v. Libby, 467 F. Supp. 2d 1, 15-16 (D.D.C.

2006) (information about “what others were told” is “simply irrelevant to the defendant’s state of

mind”); United States v. Secord, 726 F. Supp. 845, 848-49 (D.D.C. 1989) (a defendant’s “state of

mind” can be affected only by information read or heard by him). 6 More to the point, Stone’s

2017 views on Russia’s conduct could have no bearing on his knowledge of materiality for

substantially the same reasons discussed above. If knowledge of materiality were an element of

the charged crimes, the question would be Stone’s knowledge of the nature of HPSCI’s inquiry,

not Stone’s beliefs about what HPSCI was investigating. Even evidence of Stone’s views about


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         To the extent that Stone wishes to introduce this evidence to establish his state of mind,
there is an even greater danger of the sorts of unfair prejudice discussed below. It would
improperly allow Stone “to portray his own state of mind” through the testimony of others, all
“without allowing the government any effective means of challenging it through cross-
examination.” See United States v. Libby, 475 F. Supp. 2d 75, 89 (D.D.C. 2007).

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whether Russia hacked and transferred the files later posted by Organization 1 therefore could

have no bearing on whether Stone knew his false statements concerning Organization 1 were

material.

       B.      Significant Risks Of Unfair Prejudice, Jury Confusion, And Undue Delay
               Substantially Outweigh Any Probative Value

       As discussed in the government’s motion in limine (Doc. 153, at 16-18), even if Russia’s

activities were relevant to this case, evidence about those issues—beyond minimal background to

explain the HPSCI investigation—should be excluded because it poses significant risks of unfair

prejudice, confusing or misleading the jury, undue delay, and wasting time. See Fed. R. Evid. 403.

Even if the evidence “were of some marginal relevance,” the “likely (and presumably intended)

effect” of admitting evidence and argument on those issues would be “to shift the focus away from

the relevant evidence of [Stone’s] wrongdoing” to matters that are, at most, “tangentially related.”

See United States v. Malpeso, 115 F.3d 155, 163 (2d Cir. 1997).

       Stone’s motion does not address any of these concerns. Stone does not proffer what kind

of evidence he would seek to introduce on this point, or how long he thinks it would take to present

the evidence, or how (if at all) the evidence would connect to his state of mind in September 2017.

Nor does Stone suggest how the jury would be instructed to use or consider this evidence when

evaluating the charges against Stone, none of which requires the government to prove that Russia

hacked the DNC or transferred hacked material to Organization 1. As the government noted in its

motion in limine, any presentation of evidence on this subject by Stone would open the door to the

government’s presentation in rebuttal of substantial evidence that Russia did in fact steal the files

later posted by Organization 1. See generally Indictment, United States v. Netyksho, No. 18-cr-

215 (D.D.C. July 13, 2018) (alleging that Russian military officers conducted the theft and

detailing the various facts) (Doc. 1).

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       As discussed in the government’s motion in limine, this mini-trial would create a

substantial risk of unfair prejudice and confusion. It is also a virtual certainty that this kind of

evidence and argument would create undue delay and waste time. See United States v. Fonseca,

435 F.3d 369, 373-76 (D.C. Cir. 2006) (excluding “marginally” relevant evidence to avoid delay

and a “mini-trial” on a collateral matter); see also Coleman v. Home Depot, Inc., 306 F.3d 1333,

1346-47 (3d Cir. 2002) (upholding exclusion of evidence with “low probative value” where

“rebut[ting]” its “expansive allegations” would require “a great deal of time” and create “a trial

within a trial”). Those considerations outweigh any minimal probative value with respect to the

materiality of Stone’s false statements. The evidence should therefore be excluded.

                                         CONCLUSION

       For the foregoing reasons, Stone’s motion should be denied.


                                                     Respectfully submitted,

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